                             Exhibit 8




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                     UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF RHODE ISLAND

   UNITED STATES OF AMERICA,            )
                                        )
                      Plaintiff,        )
                                        )
   v.                                   )    Civil Action No.: 1:14-cv-78S
                                        )
   STATE OF RHODE ISLAND,               )
   RHODE ISLAND DEPARTMENT              )
   OF CORRECTIONS,                      )
                                        )
                      Defendants.       )

                               SETTLEMENT AGREEMENT




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                 Administrator more than ten (10) days after the deadline for submission of claim forms

                 will be provided to the Parties on a weekly rolling basis.

            E.      Determination of Claimants’ Eligibility for Individual Relief

      47.        The United States and the State will confer regarding the process by which the Parties

                 will determine whether a Claimant is eligible for individual relief under this Agree-

                 ment.

      48.        A Claimant is eligible for monetary relief under this Agreement if: (i) the Claimant

                 identified as African American or Hispanic when applying for any of the State’s selec-

                 tion processes for entry-level correctional officers; (ii) between January 2000 and 2013,

                 the Claimant failed the initial or revised written exam, or the video exam, for a test

                 administration that resulted in an eligibility list from which appointments were made;

                 and (iii) the Claimant met the minimum qualifications for employment that existed at

                 the time the Claimant was disqualified by failure of the initial written, revised written,

                 or video exam.

      49.        A Claimant is eligible for priority hiring relief under this Agreement if the Claimant

                 meets the current minimum qualifications for hire as a correctional officer with the

                 Rhode Island Department of Corrections, and either (i) satisfies the criteria in Para-

                 graph 48; or (ii) identified as African American or Hispanic when applying for the

                 interim selection process as described in Paragraph 33 of this Agreement, who failed

                 the revised written exam administered as part of the interim selection process, but

                 passed the video examination administered as part of the interim selection process, and

                 who met the minimum qualifications for employment that existed at the time the Claim-

                 ant was disqualified by failure of the written exam administered as part of the interim

                 selection process.


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            F.       Monetary Relief

      50.        The United States, in consultation with the State, shall determine the Claimants eligible

                 for a monetary award under Paragraph 48. In order to be eligible for monetary relief,

                 a Claimant need not express an interest in, or be eligible for, priority hiring relief, or

                 accept an offer of employment in the correctional officer position in the Rhode Island

                 Department of Corrections.

      51.        The United States, in consultation with the State, shall determine each eligible Claim-

                 ant’s monetary award from the Settlement Fund, such that awards are distributed

                 among all eligible Claimants who sought monetary relief in a manner that is reasonable

                 and equitable, considering when each Claimant was disqualified by the initial or revised

                 written exam, or the video exam.

            G.       Priority Hiring Relief

      52.        The United States, in consultation with the State, shall determine each Claimant’s eli-

                 gibility to participate in the priority hiring selection process subject to Paragraph 49.

                 Eligibility to participate in the priority hiring selection process does not ensure a Claim-

                 ant will receive an offer of priority hire from the State. The State shall require any

                 eligible Claimant seeking priority hiring relief to successfully complete the State’s cor-

                 rectional officer screening and selection procedures that are then in effect and required

                 of all other correctional officer applicants.

            H.       Proposed Individual Relief Awards Lists

      53.        No later than one hundred twenty (120) days after entry of this Agreement, the United

                 States shall provide the State with:

                     a. A Proposed Monetary Awards List that identifies all Claimants it finds eligible

                         for monetary relief based on the Interest-in-Relief Forms received by the Claims


                                                        20


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